Case 3:17-cv-00072-NKM-JCH Document 673-2 Filed 03/11/20 Page 1 of 5 Pageid#: 9361




                       EXHIBIT 2
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